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UNITED STATES DISTRICT COURT FEB 26 2024
FOR THE DISTRICT OF NEW HAMPSHIRE

United States of America

Selene * thal

STIPULATION TO DETENTION AND
WAIVER OF DETENTION HEARING

Case No. 24- CR-03-I(- om-ay

| hereby waive my right to a detention hearing as provided in:

[-+ 18U.S.C. 3142(f), pending trial**
18 U.S.C. 3148(a), revocation of release/pending trial*™*
Fed.R.Crim.P. 46(c) and 18 U.S.C. 3143, pending sentence
Fed.R.Crim.P. 32.1(a)(1) and Fed.R.Crim.P. 46(c), pending revocation
of probation/supervised release hearing

without prejudice, and stipulate to detention. S}
Date: 7 (> E> NWO

Defendan

pate: 2(r (24 x

ee Defendant -

STIPULATION APPROVED.*
Date: 2/.26/20aF Audauapfy. JIVATC ER
United States Magistrate Judge
LUntteel-Chates-Dishiot deel
cc: US Attorney
US Marshal x site ebaeecratts
US Probation To the extent consistent with the jail's

regulations, and presurning the defendant

qualifies for admission, the Court makes a

“The defendant is committed to the custody of the Aten DGErata! Or HE? HesiGnaledhiepiesntitivets? tdnfihsmAMW BSdrrections facility separate, to

cppertanty for private conautaton wih defense coureal 9 oat oid Coun toring Unica sunt Oren valde fol Btvney ror he Government, the

eine a the corrections facility shall del veers Part tothe United States‘ marshal forthe prippse of an appearance in connection with a
Department of Corrections.

Defendant's Counsel

USDCNH-31 (5-99)
